             Case: 1:25-cv-00721-DAP Doc #: 11 Filed: 05/15/25 1 of 2. PageID #: 58




                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                      Northern District of Ohio

   JOANNE M. BILBREY, INOIVIDUALLY AND AS
    EXECUTOR OF THlz ESTATE OF ROBERT L
             BILBREY, DECEASED


                            PMnt;/J(Sf
                                 v.
                PV HOLDING CORP, ET AL




                                                  SUMMONS JN >\. CJVIL ACTION

To; (IJ,J/i::ndr.mt s name and addrtss;
                                          HUTCHINSON, INC,
                                          C/0 JAMES TODOROFF
                                          460 FULLER AVENUE, N.E.
                                          GRAND RAPIDS, M! 4950J



          A lawsuit has been filed ugaim,t yr:m.

         Within 21 days after ~ervice of this summons on you ,notc0untlng the day you recei ved it},···o, 60 days if)ru
are the United States or a United States agency, (\fan of!k.,,. t•r employee of the: l fnited Staie~ d<!stribed in Ped, R. Civ,
P. 12 (a)t2} or (3) -you must serve on the plaintiff an answer w tf·e attacht'd t('lmplaint or a motion ander Rde 12 of
the Federal Ru.tell of Civil Pmood:1rc. The answer or motion rmst be served on the p!ahtiff r-r plai;!ti:f s atmrney.
\-\hos0 name and address are:
                                          KENNETH A CALDERONE
                                          HANNA, CAMPBELL & POWELL, LLP
                                          3737EMBASSYPARKWAY, SUITE 100
                                          AKRON, OH 44333


       lf you fail to respond, judgment by detault will be entered agains: you for the relief demanded in the complaim.
You also must file your answer or m.otion wl:h the court


                                                                           S-4,VJJVOPACfCii, CJFRK OFO)l,ltr


Date:        4/21/2025                                                        s/ Jessica L Hancock
            Case: 1:25-cv-00721-DAP Doc #: 11 Filed: 05/15/25 2 of 2. PageID #: 59




                                                                          PROOF OF SERVICE


         1hi:s
        . . ■ Complet~ iten:i~f'I, 2, and 3. . ,·· __ ,,.,,,.,
 wasrece1vedt ■ Prmt
                 ·. -.\(Cur
                        · _n~e
                            . · ·and address .on·-·~ reverse
                                                         .-~· ·
                         so ttiat we: 9an.teturn Jhe card to•yoo.-~ .
         L1 ! pi ■ Attach this card to-the back of the'ltlaifpiece,
                          or on the front if space permits.
                     1. · Article Addressed to:                                                      D. Is delivery address diffe nt from item 1?
                                                                                                         If YES, enter delivery address below:
                                    Hutchinson, Inc.
         CJ ll                      c/o James Todoroff
                                    460 Fuller Ave., N.E.
                                    Grand Rapids, Ml 49503
         on(du

         11 JSi                                                                                       3. Service Type                           D Priority Mail Express®      _. ,.,t..,_ 'is ...

                           II lllllll llll llllll lllll llll IIIll lllllll III Ill
                                                                                                      D Adult Signature                         D Registered Mail™            . n Ir-.,
                                                                                                          dull Signature Restricted Delivery i      egistered Mall Restricted
          desig                                                                                           ertifled Mail®                           elivery
                               9590 9402 7963 2305 3426 60                                              Certified Mail Restricted Delivery         ignature Conflnnatlon™
                                                                                                      D Collect on Delivery                     D Signature Confinnation
                   - 2-. -Art
                           - ic-le_N_u_m_b_e_r -(Tiran
                                                     - sfe
                                                        - ,- ~-,o-m
                                                                  - se_rv:_i_ce_ l_ab_e_ll- - - - - 1 D Collect on Delivery Restricted Delivery   Restricted Delivery
                                                                                             □        D Insured Mail
         0 Ir" 7022 3330 0001 4427 82
                                      4                                                               DlnsuredMailRestrictedDelivery
                 "'                                                                                     (over $500)                                                                    :or
             , PS Form 3811, July 2020 PSN 7530-02·000·9053                                                                                   Domestic Return Receipt l
         □ Other tspeclJyi.




         My fees ar(: $                                    foi- travel and S                                      for sen \ces, for a. total of $


         l dedare under penalty c>fpetjury that thil; iofixrm.tion l" true.


Date:




                                                                                                                       Primtd nan:,.-. mid title




Additional in formation regarding attempted service, et~:
